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             UNITED STATES COURT OF APPEALS FOR THE ELEVENTH CIRCUIT
                              Appearance of Counsel Form
Attorneys who wish to participate in an appeal must be properly admitted either to the bar of this court or for the particular
proceeding pursuant to 11th Cir. R. 46-1, et seq. An attorney not yet properly admitted must file an appropriate application. In
addition, all attorneys (except court-appointed counsel) who wish to participate in an appeal must file an appearance form within
fourteen (14) days after notice is mailed by the clerk, or upon filing a motion or brief, whichever occurs first. Application forms and
appearance forms are available at www.ca11.uscourts.gov.

                                                        Please Type or Print
                     23-12958
Court of Appeals No. _______________________
The State of Georgia                                            vs.      Mark R. Meadows
The Clerk will enter my appearance for these named parties or amici curiae (you must list all parties or amici; use extra
pages if necessary):
Mark R. Meadows



These individuals/entities are:

                           ✔
                                   appellant(s)                 petitioner(s)                  intervenor(s)

                                   appellee(s)                  respondent(s)                  amicus curiae

        The following related or similar cases are pending in this court:



        Check here if you are lead counsel.

I hereby certify that I am an active member in good standing of the state bar or the bar of the highest court of the state
(including the District of Columbia) named below, and that my license to practice law in the named state is not currently
lapsed for any reason, including but not limited to retirement, placement in inactive status, failure to pay bar membership
fees or failure to complete continuing education requirements. I understand that I am required to notify the Clerk of this
court within 14 days of any changes in the status of my state bar memberships. See 11th Cir. R. 46-7.


                  State Bar: Pennsylvania                                State Bar No.: 327370


Signature: /s/ Francis J. Aul

Name (type or print): Francis J. Aul                                                        Phone: (202) 857-1713

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